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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-0946 (CKK)
v.

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                   Defendants.


DEMOCRATIC NATIONAL
COMMITTEE, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-cv-0952 (CKK)
v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                   Defendants.


LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                   Plaintiffs,
                                             Civil Action No. 25-0955 (CKK)
v.

DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                   Defendants.


       DEMOCRATIC PARTY PLAINTIFFS’ MEMORANDUM OF POINTS AND
     AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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        The excessive accumulation of powers in the same hands, the Framers warned, “may justly

be pronounced the very definition of tyranny.” The Federalist No. 47 (James Madison). To protect

against this existential risk to democracy, the Framers created a decentralized system that divided

the federal powers relating to the administration of elections among the leaders elected by—and

closest to—the people. They gave the President no role in this constitutional design for setting

election rules.

        President Trump’s recent Executive Order No. 14248 (the “E.O.”) seeks to override that

deliberate and careful separation of powers in a way that is emblematic of the very dangers that

concerned the Framers. Falsely claiming that sweeping alterations to election laws across the

country are necessary to ensure that elections “determine[e] the rightful winner[s],” E.O. § 1,

President Trump asserts unprecedented and entirely illegitimate authority to declare by executive

fiat which Americans may vote and which ballots may be counted. In the process, he threatens

retribution against any State that persists in asserting its own rightful authority to administer its

own elections, and in the process, he violates federal laws duly enacted by Congress. The result is

an E.O. that is entirely ultra vires and fundamentally irreconcilable with the separation of powers.

        President Trump has no authority to require enforcement action against States that exercise

their rightful “policy choice” to count mail ballots received by election officials after election day.

DNC v. Wis. State Legis., 141 S. Ct. 28, 34 (2020) (Kavanaugh, J., concurring); but see E.O. § 7.

He has no authority to require the Election Assistance Commission, an independent agency, to

amend the national mail voter registration form to require documentary proof of citizenship, or to

instruct other officials to withhold that form arbitrarily from recipients of public assistance. But




                                                      1
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  see E.O. § 2(a), (d). And he has no authority to require DOGE and other administrative agencies

  to broadly disseminate sensitive personal data. But see id. § 2(b).

              President Trump’s illegitimate attempts to subvert American elections and remake both

  state and federal laws with the sweep of his pen will cause severe and irreparable harm to

  Democratic Party Plaintiffs—the DNC, DGA, DSCC, and DCCC, as well as their members and

  voters, Leader Schumer, and Leader Jeffries. They move for immediate preliminary relief against

  the portions of the E.O. that threaten imminent harm: that is, Sections 2(a), 2(b), 2(d), 7(a), and

     7(b).

              Absent prompt relief, Plaintiffs will be forced to compete under election rules designed to

 benefit their opponents, including rules that make it harder for their supporters to register to vote

 and have their votes counted. Plaintiffs will also be forced to redirect scarce resources to protect

 their tens of millions of members and constituents from the President’s unlawful actions. The

  equities and public interest also weigh decisively in Plaintiffs’ favor, as the President’s naked

  pursuit of partisan advantage undermines the integrity of American elections while risking mass

  voter disenfranchisement. The Democratic Party Plaintiffs’ motion for a preliminary injunction

  should be granted.


                                             BACKGROUND

I.      The E.O. purports to dictate sweeping changes to election laws across the country,
        without any grant of constitutional or statutory authority.

              On March 25, President Trump issued Executive Order 14248, titled Preserving and

 Protecting the Integrity of American Elections. As relevant here, the E.O. mandates federal agency

 action aimed at prohibiting the counting of timely cast mail ballots, E.O. § 7, requiring voters to

 provide documentary proof of citizenship when registering, id. §§ 2(a), (d), and sharing sensitive




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personal data stored in federal databases with DOGE and state and local election officials across

the country, id. § 2(b) (collectively for purposes of this motion, the “Challenged Provisions”).

       A.      The E.O. imposes the President’s policy preferences on States with
               extended ballot receipt deadlines, threatening mass disenfranchisement.

       Nearly thirty States allow for the counting of ballots that voters mark and place in the mail

by election day, even if USPS does not deliver them to local election officials until after the polls

close. 1 These laws protect the timely cast ballots of voters—especially servicemembers,

Americans living overseas, and older voters—who may otherwise be disenfranchised because of

mail delays beyond their control. In Section 7 of the E.O., President Trump falsely claims that all

of these laws are invalid for lacking compliance “with the Federal laws that set the uniform day

for appointing Presidential electors and electing members of Congress.” E.O. § 7(a) (citing 2 U.S.C

§ 7 and 3 U.S.C. § 1). He then directs the Attorney General to “take all necessary action to enforce

2 U.S.C. 7 and 3 U.S.C. 1 against States that violate these provisions by” counting “absentee or

mail-in ballots received after Election Day” in federal elections, and the EAC to withhold federal




1
 See Ala. Code § 17-11-18(b); Alaska Stat. § 15.20.081; Ark. Code. Ann. § 7-5-411(a)(1)(A)(ii);
Cal. Elec. Code § 3020(b); D.C. Code § 1-1001.05.(a)(10B); Fla. Stat. § 101.6952(5); Ga. Code
Ann. § 21-2-386(a)(1)(G); 10 Ill. Comp. Stat. 5/19-8, 10 Ill. Comp. Stat. 5/18A-15; Ind. Code § 3-
12-1-17(b); Mass. Gen. Laws ch. 54 § 93; Md. Code Ann., Elec. Law, § 9-309; Maryland State
Board of Elections, Canvassing, https://perma.cc/RZ8M-W6JK (last visited Apr. 7, 2025); Mich.
Comp. Laws § 168.759a(18); Miss. Code Ann. § 23-15-637(1)(a); Mo. Rev. Stat. § 115.920(1);
Nev. Rev. Stat. § 293.269921(1)(b), (2); N.J. Stat. § 19:63-22(a); N.Y. Elec. Law § 8-412(1); N.D.
Cent. Code Ann. § 16.1-07-09; Ohio Rev. Code § 3509.05(D)(2)(a); Or. Rev. Stat.
§ 254.470(6)(e)(B); 25 Pa. Cons. Stat. § 3511(a); R.I. Gen. Laws § 17-20-16; S.C. Code § 7-15-
700(A); Tex. Elec. Code Ann. § 86.007(a)(2); Va. Code § 24.2-709(B); Wash. Rev. Code
§ 29A.40.091; W. Va. Code § 3-3-5(g)(2); see also Nat’l Conf. of State Legis., Voting Outside the
Polling Place Report, Table 11: Receipt and Postmark Deadlines for Absentee/Mail Ballots (last
updated Mar. 24, 2025), https://www.ncsl.org/elections-and-campaigns/table-11-receipt-and-
postmark-deadlines-for-absentee-mail-ballots.

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funding from States that do not adopt a “ballot receipt deadline of Election Day for all methods of

voting.” Id. § 7(a), (b) (the “Receipt Deadline provisions”).

       The imposition of a national election day ballot receipt deadline will disenfranchise

countless voters among the Democratic Party Plaintiffs’ members and constituents—including

members of the military, their families, and others who rely on mail voting. Ex. 1, Decl. of Hakeem

S. Jeffries (“Jeffries Decl.”) ¶ 9–10; Ex. 2, Decl. of Charles E. Schumer (“Schumer Decl.”) ¶ 5;

Ex. 3, Decl. of Liberty Schneider (“Schneider Decl.”) ¶ 9; Ex. 4, Decl. of Jillian Edelman

(“Edelman Decl.”) ¶ 9; Ex. 5, Decl. of Lillie Snyder (“Snyder Decl.”) ¶ 8; Ex. 6, Decl. of Erik

Ruselowski (“Ruselowski Decl.”) ¶ 9. Over the past several election cycles it has increasingly

become the case that supporters of the Democratic Party use mail voting at higher rates than their

Republican counterparts. Jeffries Decl. ¶ 12; Schumer Decl. ¶ 6–9; Schneider Decl. ¶ 28; Edelman

Decl. ¶ 10; Snyder Decl. ¶ 6, 26; Ruselowski Decl. ¶ 7, 28. The impact of this part of the E.O. will

accordingly fall particularly hard on Democratic voters, especially in States where elections are

conducted primarily by mail, such as California, Nevada, Oregon, Utah, and Washington—all of

which have extended receipt deadlines, and many of which have elections that are regularly

decided by small margins. Schumer Decl. ¶ 7; Schneider Decl. ¶ 9; Snyder Decl. ¶ 8; Ruselowski

Decl. ¶ 9.

       B.      The E.O. imposes burdensome and unnecessary documentary proof of
               citizenship requirements.

       The E.O. also mandates new burdens on voters who register using the “National Mail Voter

Registration Form” (commonly known as the “Federal Form”) prescribed by Congress in the

National Voter Registration Act, 52 U.S.C. § 20501 et seq. (“NVRA”), and assigned to the EAC

to develop in consultation with the States, id. §§ 20501, 20508; see also E.O. §§ 2(a), 2(d) (the

“DPOC provisions”). These provisions of the E.O. are based on the false claim that American


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elections are not adequately protected against noncitizen voting and that voters should be required

to show documentary proof of citizenship (“DPOC”).

       First, the E.O. directs the EAC, within 30 days (or by April 24, 2025), to amend the Federal

Form to require that all voters provide DPOC to register, while simultaneously restricting such

“proof” to a narrow set of documents that millions of Americans do not possess. See E.O. § 2(a)(i).

Namely, voters may only “prove” citizenship under the E.O. if they can produce (A) a U.S.

passport; (B) a REAL ID or (C) an official military identification card, but only if the REAL or

military IDs “indicate[] the applicant is a citizen of the United States”; or (D) a valid Federal or

State government-issued photo identification if it indicates that the applicant is a U.S. citizen or is

accompanied by proof of U.S. Citizenship. See id. § 2(a)(ii). Several forms of identification listed

in the E.O.—including REAL IDs and military identification cards—do not necessarily establish

a person’s U.S. citizenship. 2 Only five States—Michigan, Minnesota, New York, Vermont, and

Washington—offer more expensive “enhanced” driver’s licenses that indicate citizenship. 3 And

the E.O. does not include as acceptable DPOC other documents including adoption certificates,




2
 See, e.g., Bay Area News Grp., Can California’s Real ID Be Used as Proof of U.S. Citizenship?,
Mercury News (Jan. 29, 2025), https://perma.cc/DBB9-BVHJ; U.S. Embassy & Consulates in
Japan, Proof of U.S. Citizenship, https://perma.cc/WU9M-4TQ8.
3
  Dep’t of Homeland Sec., Enhanced Drivers’ Licenses: What Are They? (last updated Apr. 27,
2023), https://perma.cc/5QUT-FELG. Compare Mich. Dep’t of State, Enhanced license and ID,
https://www.michigan.gov/sos/all-services/enhanced-license-and-id ($45 enhanced license), with
Mich. Dep’t of State, First-time license or ID, https://www.michigan.gov/sos/all-services/first-
time-license-or-id    ($25     first-time    license);  Minn.     Dep’t    of    Pub.    Safety,
https://dps.mn.gov/divisions/dvs/license-and-id/dl-and-id-card-fees ($15 fee for enhanced
license); N.Y. State, Enhanced or REAL ID, https://dmv.ny.gov/driver-license/enhanced-or-real-
id#:~:text=Enhanced%3A%20The%20additional%20fee%20for,or%20non%2Ddriver%20ID%2
0transaction ($30 fee for enhanced license); Vt. Dep’t of Motor Vehicles, Driver’s License Fees,
https://dmv.vermont.gov/licenses/fees ($36 fee for enhanced two-year license); Wash. State Dep’t
of Licensing, Driver Licensing Fees, https://dol.wa.gov/driver-licenses-and-permits/driver-
licensing-fees ($28 fee for four-year license).

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Consular Reports of Birth Abroad issued by the Secretary of State, naturalization documents issued

by DHS, American Indian Cards issued by DHS indicating citizenship, or even birth certificates. 4

See E.O. § 2(a)(ii). Millions of U.S. citizens, including the Democratic Party Plaintiffs’

constituents and voters, lack qualifying documents and accordingly will be unable to register using

the Federal Form—and, in some cases, that means they will be unable to register to vote at all.

Schneider Decl. ¶ 19; Edelman Decl. ¶ 13; Snyder Decl. ¶ 18; Ruselowski Decl. ¶ 20; Schumer

Decl. ¶ 12; Jeffries Decl. ¶ 14. This problem most heavily affects lower-income voters who lack

the resources or ability to obtain a passport, as well as women, because most women who get

married change their last name upon marriage, such that their legal name often does not match

their citizenship document. Snyder Decl. ¶ 18; see also Schneider Decl. ¶ 19; Edelman Decl. ¶ 13;

Ruselowski Decl. ¶ 20.

       Second, the E.O. requires the EAC to amend the Federal Form to require “a State or local

official to record on the form the type of document that the applicant presented as” DPOC,

including the date, office, and other information about the voter’s provision of such

documentation. E.O. § 2(a)(i)(B).

       Third, the E.O. forces federal agencies designated to serve as voter registration agencies to

“assess citizenship” for “enrollees of public assistance programs”—but no one else—before they

may even provide them with the Federal Form, discriminating against the most vulnerable

Americans. See id. § 2(d). Nowhere does the E.O. explain what it means for these officials to

“assess” citizenship, how federal agencies should conduct this assessment, or how it can be done



4
 The President’s exclusion of a valid birth certificate as DPOC comes on the heels of Executive
Order 14160, which contests the citizenship status of children born on American soil (and thus
provided a birth certificate issued within the United States). See E.O. No. 14160, Protecting the
Meaning and Value of American Citizenship (Jan. 20, 2025).

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      reliably. Nor does the E.O. explain why only those who receive public assistance, but no one else,

      should be subject to citizenship checks before they can be given the Federal Form. See id.

             C.      The E.O. forces federal agencies to share sensitive voter information with
                     DOGE and state officials.

             The E.O. directs several federal agencies and officers to grant third parties unauthorized

      access to federal systems and databases containing the personal information of American citizens,

      including the Party Organizations’ tens of millions of members, constituents, and supporters, as

      well as Leader Schumer and Leader Jeffries. For example, it directs the Department of Homeland

      Security (“DHS”) to grant the “DOGE Administrator” access to “Federal immigration databases”

      to “review each State’s publicly available voter registration list and available records concerning

      voter list maintenance activities,” E.O. § 2(b)(iii); the Secretary of DHS to “ensure that State and

      local officials have . . . access to appropriate systems for verifying the citizenship or immigration

      status of individuals registering to vote or who are already registered,” id. § 2(b)(i); and the

      Secretary of State to “make available information from relevant databases to State and local

      election officials engaged in verifying the citizenship of individuals registering to vote or who are

      already registered.” Id. § 2(b)(ii) (collectively, the “Data-Sharing provisions”).

II.      Democratic Party Plaintiffs’ Lawsuit

             Six days after the President signed the E.O., on March 31, 2025, the DNC, DGA, DSCC,

  DCCC (collectively, the “Party Organizations”), and the Democratic leaders of the U.S. Senate

  and House, Charles E. Schumer and Hakeem S. Jeffries respectively, promptly filed a Complaint

  in the U.S. District Court for the District of Columbia challenging the President’s unprecedented

  and sweeping E.O. The Complaint alleges in eleven counts that the E.O.’s vast overreach violates

  myriad constitutional provisions and federal laws. Relevant here are the Democratic Party

  Plaintiffs’ claims that the E.O. constitutes ultra vires action by the President and violates the


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Constitution’s protections to ensure separation of powers. See Compl. ¶¶ 126–33 (Count I – Ultra

Vires Presidential Action); id. ¶¶ 134–41 (Count II – Separation of Powers – Unlawful Intrusion

Upon Congressional Authority); id. 142–45 (Count III – Separation of Powers– Unlawful Intrusion

Upon State Authority), ECF No. 1.

       Two other groups of plaintiffs also filed suit against the E.O. in this District. See League

of United Latin American Citizens v. Executive Office of the President, No. 1:25-cv-00946; League

of Women Voters Education Fund v. Trump, No. 1:25-cv-00955. On April 3, the Court

consolidated the three actions. See ECF No. 12.


                                 STANDARD OF REVIEW

       To obtain a preliminary injunction, Plaintiffs must show that “four factors, taken together,

warrant relief: likely success on the merits, likely irreparable harm in the absence of preliminary

relief, a balance of the equities in [their] favor, and accord with the public interest.” League of

Women Voters of U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016) (citation omitted). When a

preliminary injunction is sought against the government, the final two factors merge. Pursuing

Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016); see also Nken v. Holder, 556 U.S.

418, 435 (2009). Before the Supreme Court’s decision in Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7 (2008), courts in this Circuit applied a “sliding-scale analysis” under which “a strong

showing on one factor could make up for a weaker showing on another.” Sherley v. Sebelius, 644

F.3d 388, 392 (D.C. Cir. 2011). The D.C. Circuit has declined to resolve “whether the ‘sliding

scale’ approach remains valid after Winter.” Newby, 838 F.3d at 7; see also Nat’l Council of

Nonprofits v. Off. of Mgmt. & Budget, --- F. Supp. ----, No. CV 25-239, 2025 WL 597959, at *12

(D.D.C. Feb. 25, 2025).




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                                           ARGUMENT

I.   The Democratic Party Plaintiffs have standing as to each provision they challenge.

         The Democratic Party Plaintiffs have standing to seek preliminary relief against the E.O.

 because the record shows that they are substantially likely to satisfy each prong of the inquiry—

 an “injury-in-fact” that is “traceable to the conduct of the” defendants and “likely to be

 redressed”—as to each claim against each provision at issue. Turner v. U.S. Agency for Glob.

 Media, 502 F. Supp. 3d 333, 357 (D.D.C. 2020) (citing Elec. Privacy Info. Ctr. v. Pres. Advisory

  Comm’n on Elec. Integrity, 878 F.3d 371, 377 (D.C. Cir. 2017)). “[O]ne party with standing is

  sufficient to satisfy Article III’s case-or-controversy requirement.” Rumsfeld v. F. for Acad. &

 Institutional Rts., Inc., 547 U.S. 47, 52 n.2 (2006). Here, all have standing.

         A.     The Democratic Party Plaintiffs have standing based on direct harm to
                their electoral prospects.

         President Trump’s E.O. is designed to—and, unless enjoined, is guaranteed to—inflict

 harm to the Democratic Party Plaintiffs’ electoral prospects, including by burdening their voters’

 access to the franchise and forcing Plaintiffs to expend resources to counteract these and other

 harms. It is well settled that any threat to the electoral prospects of a political party’s candidates

 stemming from change in election rules constitutes a concrete and particularized injury for

 purposes of Article III. E.g., Mecinas v. Hobbs, 30 F.4th 890, 898 (9th Cir. 2022) (holding

 regulations that “make[] the competitive landscape worse for a candidate or that candidate’s party

 than it would otherwise be if the regulation[s] were declared unlawful” inflict cognizable harm);

 Tex. Democratic Party v. Benkiser, 459 F.3d 582, 587 & n.4 (5th Cir. 2006) (similar, collecting

 “[v]oluminous persuasive authority”); see also e.g., Shays v. FEC, 414 F.3d 76, 85–86 (D.C. Cir.

 2005) (holding candidates had standing to challenge regulation that would “alter the environment

 in which rival parties defend their concrete interests . . . in winning reelection”) (cleaned up);



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Nelson v. Warner, 472 F. Supp. 3d 297, 306–07 (S.D. W. Va. 2020) (collecting cases from

“[s]everal circuits” finding candidate and party committee standing). Plaintiffs have direct

standing to challenge each of the Challenged Provisions on these grounds.

       First, the Receipt Deadline provisions disproportionately disenfranchise and burden voters

who vote for Democrats, placing Plaintiffs at a competitive disadvantage relative to Republicans.

Mail voting has been a cornerstone of the Party Organizations’ electoral strategy in recent years

and—in the current landscape—it is well understood that voters who support Democrats make up

the largest share of mail voters. See Jeffries Decl. ¶ 7; Schumer Decl. ¶¶ 6, 9; Schneider Decl. ¶ 7;

Edelman Decl. ¶ 11; Snyder Decl. ¶ 6; Ruselowski Decl. ¶ 7. 5 Furthermore, many of the States

where the Democratic Party Plaintiffs compete for election have adopted extended ballot receipt

deadlines. Schumer Decl. ¶ 7; see also Edelman Decl. ¶¶ 8, 11. Many of these States also have

high levels of mail voting and extremely close elections. Schneider Decl. ¶ 9; Ruselowski Decl.

¶¶ 9–10; Schneider Decl. ¶ 9. Extended receipt deadlines are essential both to ensure that qualified

voters are not disenfranchised due to mail delays, and to ensure that the outcome of any given

election truly reflects the will of the voters who participate in it. The President’s attempt to impose

a nationwide election day receipt deadline threatens to disqualify hundreds of thousands of ballots

in States where they otherwise would be counted, making it harder for Democrats to win elections.

Schneider Decl. ¶¶ 9–12, 28; Edelman Decl. ¶¶ 9–10; Snyder Decl. ¶¶ 8–10, 26; Ruselowski Decl.




5
 Ex. 7, Pew Rsch. Ctr., Voters’ and Nonvoters’ Experiences With the 2024 Election (Dec. 4, 2024),
https://perma.cc/BXR3-L2GJ (showing that in the 2024 general election 44 percent of Democratic
candidates’ voters voted by mail or absentee ballot compared to 26 percent of Republican
candidates’ voters); see also Ex. 8, @realDonaldTrump, Twitter (May 28, 2020, 9:00 PM)
(asserting mail-in voting will “lead to the end” of the Republican Party (all-caps removed)),
available at https://x.com/realDonaldTrump/status/1266172570983940101.

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¶¶ 9–12, 28. 6 The Receipt Deadline provisions further risk mass confusion among Democratic

mail voters about what deadline applies, significantly increasing the likelihood that their ballots

will be rejected, to the benefit of the President’s political party. Jeffries Decl. ¶ 8; Schumer Decl.

¶¶ 6, 9; Schneider Decl. ¶ 11; Edelman Decl. ¶¶ 9, 10; Snyder Decl. ¶ 9; Ruselowski Decl. ¶¶ 11–

12. The Receipt Deadline provisions thus dramatically “alter the [electoral] environment”—to the

Democratic Party Plaintiffs’ clear detriment. Shays, 414 F.3d at 85–86. For the same reasons, the

Receipt Deadline provisions tilt the playing field against Plaintiffs Schumer and Jeffries, as well

as the Party Organizations’ members who are Democratic candidates for office. Gallagher v. N.Y.

State Bd. of Elections, 477 F. Supp. 3d 19, 35 (S.D.N.Y. 2020) (“Candidates have an interest not

only in winning or losing their elections, but also in ensuring that the final vote tally accurately

reflects the votes cast.”); see Schumer Decl. ¶ 9; Jeffries Decl. ¶ 12; Edelman Decl. ¶¶ 10–11.

       Second, the burdens imposed by the DPOC provisions will fall disproportionately on

citizens that are more likely to support Democrats—including lower-income voters, enrollees of

public assistance programs, and women. Despite being citizens and eligible voters, members of

these groups are far more likely to lack the particular forms of documentation that the E.O. declares

acceptable to “prove” citizenship, thus making it impossible for them to vote, directly harming the

Democratic Party Plaintiffs’ electoral prospects. Schneider Decl. ¶ 19; Edelman Decl. ¶ 13; Snyder




6
  Of all of the rejected UOCAVA ballots in 2020, “[m]issing the deadline was the most common
reason” for rejection—over 40 percent were rejected by election officials for arriving late. See
Dep’t of Defense, Federal Voting Assistance Program, Report to Congress at 57 (2020),
https://www.fvap.gov/uploads/FVAP/Reports/FVAP-2020-Report-to-
Congress_20210916_FINAL.pdf.

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Decl. ¶ 18; Ruselowski Decl. ¶ 20. 7 Here, too, the President’s “illegal structuring of [the]

competitive environment” degrades Plaintiffs’ electoral prospects. See Shays, 414 F.3d at 85–86;

see Nat. Law Party of U.S. v. FEC, 111 F. Supp. 2d 33, 44 (D.D.C. 2000); Mecinas, 30 F.4th at

898; Benkiser, 459 F.3d at 587 & n.4; Gallagher, 477 F. Supp. 3d at 35.

       Third, the Data-Sharing provisions will also disproportionately harm Democratic voters.

These voters are especially sensitive to the risks that their personal data will be targeted for

dissemination given President Trump’s frequent and hysterical accusations about cheating by

Democratic voters. 8 See Schneider Decl. ¶ 24; Edelman Decl. ¶ 19; Snyder Decl. ¶ 23; Ruselowski

Decl. ¶ 25. Indeed, many eligible Democrats may refrain from registering to vote altogether if the

price of registration is that DOGE and other Republican officials will receive unlawful access to

sensitive personal information. Schneider Decl. ¶ 24; Edelman Decl. ¶ 19; Snyder Decl. ¶ 23;

Ruselowski Decl. ¶ 25. That disengagement will be costly for the Party Organizations—both

financially as they dedicate additional resources to registration efforts, and at the ballot box, where

the reluctance of supporters will place Democratic candidates at a disadvantage. Schneider Decl.

¶¶ 24–25; Edelman Decl. ¶ 19; Snyder Decl. ¶¶ 23–24; Ruselowski Decl. ¶¶ 25–26.




7
 See also Ex. 9, Pew Rsch. Ctr., Party Affiliation of U.S. Voters by Gender, Orientation, Marital
Status (Apr. 9, 2024), https://perma.cc/YY9B-H7TS; Ex. 10, Pew Rsch. Ctr., Party Affiliation of
U.S. Voters by Family Income, Home Ownership, Union Membership and Veteran Status (Apr. 9,
2024), https://perma.cc/RLA6-YDUM.

8
  See, e.g., Ex. 11, Amy Sherman, Fact-Checking Trump’s False Claims About Voter Fraud and
‘Rigged’ Elections, PBS (Oct. 5, 2024), https://www.pbs.org/newshour/politics/fact-checking-
trumps-false-claims-about-voter-fraud-and-rigged-elections.

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       B.      The Party Organizations have associational standing based on harm to
               their members’ and constituents’ voting and privacy rights.

       Separate and independent from their standing based on their direct harm to their electoral

prospects, the Party Organizations also have associational standing based on the harms the

Challenged Provisions threaten to the voting and privacy rights of their members and constituents.

See Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977) (holding an organization

may bring suit on behalf of its members when: (1) its members “would otherwise have standing to

sue in their own right”; (2) “the interests it seeks to protect are germane to the [its] purpose”; and

(3) “neither the claim asserted nor the relief requested requires the participation of individual

members”). It is well settled that political parties have associational standing on behalf of their

voter members when they are challenging state laws that would make it more difficult for their

members to engage in the political process. See, e.g., Crawford v. Marion Cnty. Election Bd., 472

F.3d 949, 951 (7th Cir. 2007) (holding the “Democratic Party also has standing to assert the rights

of those of its members who will be prevented from voting by the new [photo ID] law”); Sandusky

Cnty. Democratic Party v. Blackwell, 387 F.3d 565, 573–74 (6th Cir. 2004) (similar); Fla.

Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1254 (N.D. Fla. 2016) (similar).

       The Plaintiffs’ members and constituents have standing to sue in their own right. The

Receipt Deadline provisions directly threaten the voting rights of the Party Organizations’

members and constituents by attempting to truncate the period during which mail voters may return

their ballots in nearly 30 states. And they make it far more likely that those members and

constituents—including, in particular, voters in States where elections are conducted primarily

with mail voting, military voters, and others who are disproportionately reliant on mail voting—

will have their ballots rejected entirely. Jeffries Decl. ¶¶ 8–10; Schumer Decl. ¶ 8; Schneider Decl.

¶ 9; Edelman Decl. ¶ 9; Snyder Decl. ¶ 8; Ruselowski Decl. ¶ 9. These risks are all the more acute


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because of increasing, often unpredictable, mail delays. Jeffries Decl. ¶ 10; Schneider Decl. ¶¶ 13–

14. Given the Party Organizations’ substantial memberships, it is a statistical certainty that at least

one member will have their mail ballot rejected because it will arrive after election day. See, e.g.,

Fla. State Conf. of NAACP v. Browning, 522 F.3d 1153, 1163 (11th Cir. 2008); see also Snyder

Decl. ¶ 6 (noting that many of DSCC’s elected members vote by mail).

       And the harm is not just the risk of disenfranchisement: the Receipt Deadline provisions

deprive voters of the full election period to consider how to vote, and the Democratic Party

Plaintiffs of the full election period to persuade them. See, e.g., Nielsen v. DeSantis, 469 F. Supp.

3d 1261, 1266 (N.D. Fla. 2020) (“The individual plaintiffs who wish to vote by mail and wish to

do so closer in time to election day than would be prudent under the ballot-receipt deadline have

standing to challenge that deadline.”).

       Finally, DGA’s members are further injured by the Receipt Deadline provisions because

the E.O. usurps their authority and influence. These provisions effectively “nullif[y]” their right to

influence their State’s policy on mail voting, as they have long been able to do. Raines v. Byrd,

521 U.S. 811, 824 (1997) (citing Coleman v. Miller, 307 U.S. 433, 438 (1939)); cf. Benkiser, 459

F.3d at 587 (“While power may be less tangible than money, threatened loss of that power is still

a concrete and particularized injury sufficient for standing purposes.”); Edelman Decl. ¶ 8.

       The Party Organizations also have associational standing to challenge the DPOC

provisions, which burden their constituents’ ability to register to vote. For some of Plaintiffs’

constituents, the best option to register to vote is by completing the Federal Form because,

consistent with Congress’s design, that Form has streamlined the registration process. Compl. ¶

111; Ex. 12 (the Federal Form); see also Schneider Decl. ¶ 18; Snyder Decl. ¶ 16; Ruselowski

Decl. ¶ 18. Millions of the Party Organizations’ constituents, who are citizens and eligible voters,



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lack DPOC altogether. Snyder Decl. ¶ 18; Schneider Decl. ¶ 19; Ruselowski Decl. ¶ 20. As a result,

they will be unable to reregister to vote using the Federal Form. See Mi Familia Vota v. Fontes,

719 F. Supp. 3d 929, 987 (D. Ariz. 2024) (finding associational standing to challenge proof of

residency law where tribe’s “members face[d] a realistic danger of sustaining a direct injury due

to the [] [r]equirement”). And, in Arizona, where the state registration form also requires producing

DPOC, these constituents will be unable to register at all. Edelman Decl. ¶ 15; see infra III.A

(irreparable harm). Courts routinely find that voters have standing to challenge laws that put them

at risk of disenfranchisement or otherwise impose new restrictions on the right to vote. See Jones

v. U.S. Postal Serv., 488 F. Supp. 3d 103, 122 (S.D.N.Y. 2020), order clarified, No. 20 CIV. 6516

(VM), 2020 WL 6554904 (S.D.N.Y. Sept. 29, 2020); League of Women Voters of S.C. v. Andino,

497 F. Supp. 3d 59, 75 (D.S.C. 2020), appeal dismissed and remanded, 849 F. App’x 39 (4th Cir.

2021) (finding voters had standing where they alleged that their absentee ballots were at risk of

being rejected on the basis of unlawful signature matching procedures).

       Finally, each of the Party Organizations’ members are injured by Section 2(b)’s mandatory

disclosure of their personal information located within federal databases because such disclosures

offend long-standing notions of privacy. Randolph v. ING Life Ins. & Annuity Co., 973 A.2d 702,

710 (D.C. 2009); Garey v. James S. Farrin, 35 F.4th 917, 919–20 (4th Cir. 2022). They are also

injured by the risks associated with error-prone scrutiny of their registrations. See Mi Familia Vota,

129 F.4th at 705; Browning, 522 F.3d at 1165; Schneider Decl. ¶ 24–25; Edelman Decl. ¶ 18;

Snyder Decl. ¶ 24; Ruselowski Decl. ¶ 26. For the same reasons that the Party Organizations’

members would have individual standing to challenge Section 2(b) on their own, Plaintiffs

Schumer and Jeffries have individual standing to challenge the provision given the threat to their

own privacy rights. See Jeffries Decl. ¶ 15; Schumer Decl. ¶ 14.



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       The interests that the Party Organizations seek to protect are clearly germane to their

organizational purpose. See Hunt, 432 U.S. at 343. To effectively pursue their mission of electing

Democratic candidates at the federal, state, and local levels, the Party Organizations must

encourage and assist Democratic Party members and constituents in registering to vote and in

casting ballots and ensuring those ballots count. Schneider Decl. ¶ 3; Edelman Decl. ¶ 4; Snyder

Decl. ¶ 3; Ruselowski Decl. ¶ 4. 9 Accordingly, each Hunt factor is satisfied.

       C.      The Party Organizations have standing based on harm to their mission and
               the need to divert resources away from core activities to combat that harm.

       The Party Organizations also have organizational standing because, in order to mitigate the

competitive injuries the E.O. imposes and the resulting burdens on Democratic voters threatened

by the Challenged Provisions, they will be forced to redirect critical resources reserved for other

core programs to address the Order’s impact on their voters. See Food & Drug Admin. v. All. for

Hippocratic Med., 602 U.S. 367, 395 (2024) (explaining organizations may establish standing by

showing challenged act or law “perceptibly impair[s]” their “core . . . activities” (quoting Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378 (1982)); Republican Nat’l Comm. v. N.C. State Bd. of

Elections (“RNC”), 120 F.4th 390, 397 (4th Cir. 2024) (holding party committee had standing

where it diverted resources in response to alleged federal violations, impairing its mission of

“organizing lawful voters and encouraging them to support Republican[s]” (citing All. for




9
  There is no reason why the Party Organizations’ individual members would have to participate
in this action. See Hunt, 432 U.S. at 343; United Food & Com. Workers Union Local 751 v. Brown
Group, 517 U.S. 544, 546 (1996). Plaintiffs are not, for example, seeking damages that would
require individualized proof. Cf. Travelers United, Inc. v. Hyatt Hotels Corp., No. CV 23-2776
(CKK), 2025 WL 27162, at *12 (D.D.C. Jan. 3, 2025).

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Hippocratic Med., 602 U.S. at 395)). 10

       The Party Organizations have invested in encouraging and helping voters to vote by mail

in accordance with the relevant state laws that govern that process, and their ability to fulfill their

mission of electing Democratic candidates currently depends significantly on those programs.

Schneider Decl. ¶ 8; Snyder Decl. ¶ 7; Ruselowski Decl. ¶ 8. In response to the Ballot Receipt

provisions, the Party Organizations will be forced to revise these programs and implement new

programs in dozens of states in advance of the 2026 elections. Schneider Decl. ¶¶ 13–17; Snyder

Decl. ¶¶ 9-15; Ruselowski Decl. ¶¶ 9-16; Edelman Decl. ¶ 12. This effort will come at a significant

cost and at the expense of other planned programs. Schneider Decl. ¶ 17; Edelman Decl. ¶ 12;

Snyder Decl. ¶ 15; Ruselowski Decl. ¶ 16; Jeffries Decl. ¶ 9; Schumer Decl. ¶ 16. The Party

Organizations will have to budget for these sweeping changes and scale back or cut their other

initiatives. Schneider Decl. ¶ 17; Edelman Decl. ¶ 12; Snyder Decl. ¶ 15; Ruselowski Decl. ¶ 17.

       The Party Organizations are also directly harmed by the DPOC provisions, which



10
   Federal courts—before and after Alliance for Hippocratic Medicine—have routinely concluded
that party committees and other groups whose missions focus on elections can establish
organizational standing to challenge laws and practices that impede their core voter advocacy
efforts by threatening harm on voters. LUPE v. Abbott, No. 5:21–CV–0844, 2024 WL 4488082,
at *36 (W.D. Tex. Oct. 11, 2024) (discussing Alliance for Hippocratic Medicine and concluding
that, “[a]s in Havens, the organizational injury here is a perceptible impairment of one of Plaintiffs’
core services—voter assistance—resulting from violations of a federal law”); RNC, 120 F.4th at
397 (holding party had standing to challenge alleged violation of HAVA where it alleged diversion
from other priorities to new “fraud”-prevention programming (citing All. for Hippocratic Med.,
602 U.S. at 395)); Common Cause Ind. v. Lawson, 937 F.3d 944, 950 (7th Cir. 2019) (explaining
“a voting law can injure an organization enough to give it standing ‘by compelling [it] to devote
resources’ to combatting the effects of [a] law that [harms] organization’s mission) (citations
omitted); Crawford, 472 F.3d at 951 (holding Democratic Party committees had standing to
challenge voter ID law), aff’d, 553 U.S. 181 (2008) (“we agree”))); Arcia v. Fla. Sec’y of State,
772 F.3d 1335, 1341–42 (11th Cir. 2014) (holding organizations engaged in voter registration as
part of core mission had standing to challenge program designed to remove non-citizens from the
roll because they diverted resources to addressing problematic misidentification of noncitizens that
impeded core mission of getting out the vote).

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undermine the efficacy of their “core” voter education programs. All. for Hippocratic Med., 602

U.S. at 395 (citing Havens, 455 U.S. at 378). The Party Organizations have invested in voter

registration, directly and indirectly, and as upcoming elections approach, the Party Organizations

will work to ensure that all eligible voters are registered and maintain their registrations. Snyder

Decl. ¶ 20; Ruselowski Decl. ¶ 18. These efforts will become more costly due to the DPOC

provisions, and will necessarily come at the expense of other initiatives they have planned to

persuade and mobilize voters.

       The President’s attempt to impose sweeping changes to protect against noncitizen voting

is superfluous: existing law already makes it illegal for non-citizens to register and vote, and there

is no evidence of significant voting by non-citizens in U.S. elections. Schneider Decl. ¶ 19;

Edelman Decl. ¶ 14; Snyder Decl. ¶ 17; Ruselowski Decl. ¶ 19; see 18 U.S.C. § 611; 8 U.S.C.

§ 1182(a)(6)(C)(ii), (a)(10)(D); see also Fish v. Schwab, 957 F.3d 1105, 1134 (10th Cir. 2020)

(noting “weak” evidence of noncitizen registration around the country based on “misleading and

false assertions” (quotation omitted)). Instead, what the E.O.’s new (and entirely unnecessary)

requirements for the Federal Form will actually do is “directly affect and interfere with” the Party

Organizations’ ability to ensure their members and constituents—qualified citizens—can register

and remain registered to vote. RNC, 120 F.4th at 397 (citing All. for Hippocratic Med., 602 U.S.

at 395). The same is true of the E.O.’s mandate that federal voter registration agency heads “assess”

public assistance beneficiaries’ citizenship before they are given a Federal Form. Schneider Decl.

¶ 19; Edelman Decl. ¶ 13; Snyder Decl. ¶ 18; Ruselowski Decl. ¶ 20.

       In addition to imposing unnecessary and burdensome new obligations on voters, the DPOC

provisions are also likely to cause significant confusion, which “will create a disincentive for

citizens who would otherwise attempt to register to vote.” Newby, 838 F.3d at 13; see Jeffries Decl.



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¶ 14; Schumer Decl. ¶ 12–13; Schneider Decl. ¶ 19; Edelman Decl. ¶ 15. As a result, the Party

Organizations will be forced to divert resources away from other critical priorities to instead aid

voters attempting to comply with the DPOC requirement. Jeffries Decl. ¶ 14, 17; Schumer Decl. ¶

16; Schneider Decl. ¶ 21; Edelman Decl. ¶ 16; Snyder Decl. ¶ 20; Ruselowski Decl. ¶ 23. These

efforts will come at the cost of other critical planned activities and expenditures in the months

leading up to the upcoming elections. Schneider Decl. ¶ 23; Edelman Decl. ¶ 17; Snyder Decl. ¶

21; Ruselowski Decl. ¶ 24.

       Finally, the Party Organizations are also directly harmed by the Data-Sharing provisions.

The specter of unauthorized scrutiny of personal records in federal databases works to dissuade

prospective voters from registering to vote. Schneider Decl. ¶ 24; Edelman Decl. ¶ 18; Snyder

Decl. ¶ 22–23; Ruselowski Decl. ¶ 25–26. The disclosure of this often outdated and erroneous

information will also lead to unlawful investigation of entirely qualified voters and purging of the

voter rolls based on “false mismatches.” Browning, 522 F.3d at 1165; Mi Familia Vota, 129 F.4th

at 705; Jeffries Decl. ¶ 15; Schumer Decl. ¶ 15. Distrust of the system further erodes the Party

Organizations’ ability to effectively register new voters, fundraise for the party, and recruit new

candidates, all of which affects the Party Organizations’ bottom lines. Jeffries Decl. ¶ 16; Schumer

Decl. ¶ 15. 11 All of this comes at a direct cost to the efficacy of the Party Organizations’ core voter

mobilization programs, forcing them to redirect scarce resources reserved for other functions

toward developing new programming aimed at persuading voters to register despite the risks to




11
   Ex. 13, Majority of Voters Disapprove of Elon Musk, Believe He Has Too Much Influence on
the      Trump     Administration,    Groundwork      Collaborative     (Feb.    5,    2025),
https://groundworkcollaborative.org/news/majority-of-voters-disapprove-of-elon-musk-believe-
he-has-too-much-influence-on-the-trump-administration/ (finding a majority of voters are
concerned with DOGE’s unregulated access to government records and IT systems).

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      their privacy interests and supporting voters whose registrations are affected by unwarranted

      investigations and unlawful purges. Schneider Decl. ¶ 24; Edelman Decl. ¶ 18; Snyder Decl. ¶ 23;

      Ruselowski Decl. ¶ 26; see Newby, 838 F.3d at 13; Browning, 522 F.3d at 1165; see also Black

      Voters Matter Fund v. Raffensperger, 478 F. Supp. 3d 1278, 1302 (N.D. Ga. 2020).

             D.      The remaining prongs of the standing inquiry are satisfied.

             Plaintiffs’ injuries are traceable to the officials that the E.O. charges with enforcement. See

      infra IV. Even where state or local officials play some role in implementing the Challenged

      Provisions, traceability is established because there is a clear “predictable effect of Government

      action on the decisions of third parties.” Dep’t of Com. v. New York, 588 U.S. 752, 768 (2019); see

   also Mass. Coal. for Immigr. Reform v. DHS, 752 F. Supp. 3d 13, 32 (D.D.C. 2024) (surveying

   “thirty years of D.C. Circuit caselaw illustrat[ing] how standing may rest ‘on the predictable effect

   of Government action on the decisions of third parties’” (citation omitted)). Finally, the requested

   equitable relief would redress Plaintiffs’ injuries by preventing them altogether. See, e.g., All. for

   Retired Ams. v. Bessent, No. 25-0313 (CKK), 2025 WL 740401, at *18 (D.D.C. Mar. 7, 2025)

   (recognizing “the requested relief—an injunction prohibiting Defendants from continuing to allow

   that access—would undoubtedly redress the alleged injur[ies] to [plaintiffs’] members”).

II.      Plaintiffs are likely to succeed on the merits.

             President Trump’s E.O. unlawfully attempts to impose his preferred election policies

  across the country. But the power and responsibility to regulate elections rests squarely with the

  States, subject only to preemption by Congress. By attempting to hijack both state and federal

  election administration to serve his own preferred policy preferences, the President transgresses

  bedrock separation of powers principles. Plaintiffs are accordingly likely to succeed on their claims

  that each of his ultra vires commands in Sections 2(a), 2(b), 2(d), 7(a), and 7(b) of the unlawful

  E.O. violates the Constitution.

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       A.      The Supreme Court has long recognized claims against action that is ultra
               vires and that violates the separation of powers.

       Democratic Party Plaintiffs’ first three causes of action—for equitable relief from ultra

vires executive action and violations of the separation of powers—are well-established under

precedent from the Supreme Court and the D.C. Circuit. See Compl. ¶ 140 (citing authority).

       Starting with Plaintiffs’ ultra vires claim (Count I), the rule in this Circuit is that “[w]hen

an executive acts ultra vires, courts are normally available to reestablish the limits on his

authority.” U.S. Chamber of Com. v. Reich, 74 F.3d 1322, 1328 (D.C. Cir. 1996) (quotation

omitted). Indeed, the D.C. Circuit recently expressly reaffirmed that, “a claim alleging that the

President acted in excess of his statutory authority is judicially reviewable even absent an

applicable statutory review provision.” Am. Forest Res. Council v. United States, 77 F.4th 787,

796 (D.C. Cir. 2023) (emphasis added) (citing Reich, 74 F.3d at 1326–28), cert. denied, 144 S. Ct.

1110 (2024). If anything, ultra vires review is all the more appropriate here because the

Democratic Party Plaintiffs allege that the E.O. is also “inconsistent with an independent statute”

in numerous respects. Am. Forest Res. Council, 77 F.4th at 787; see also Compl. ¶ 131 (explaining

how the E.O. is contrary to NVRA, HAVA, and the Election Day Statutes).

       Plaintiffs’ separation of powers claims (Counts II–III) are equally well-established. The

Supreme Court has held that “whenever a separation-of-powers violation occurs, any aggrieved

party with standing may file a constitutional challenge.” Collins v. Yellen, 594 U.S. 220, 245

(2021); see also Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 491 n.2 (2010)

(recognizing “an implied private right of action directly under the Constitution to challenge

governmental action under . . . separation-of-powers principles”). Thus, private organizations and

individuals are free to pursue separation of powers claims when an alleged violation injures them,

as here. See Bond v. United States, 564 U.S. 211, 223–24 (2011) (observing that “the claims of


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individuals,” rather than “Government departments,” have “been the principal source of judicial

decisions concerning separation of powers and checks and balances”). These same principles hold

true for claims concerning violations of the “vertical” separation of powers between “the federal

government . . . and the states and the people[.]” LaRoque v. Holder, 650 F.3d 777, 792 (D.C. Cir.

2011) (citing Free Enter. Fund, 561 U.S. at 491 n.2). “Fidelity to principles of federalism is not

for the States alone to vindicate.” Bond, 564 U.S. at 222. “An individual has a direct interest in

objecting to laws that upset the constitutional balance between the National Government and the

States.” Id. Accordingly, there is no doubt as to “the source of the Plaintiffs’ cause of action for

each claim” in Counts I–III of their complaint. ECF No. 15 at 2.

       B.      The Receipt Deadline provisions are ultra vires and violate the separation of
               powers.

       The Democratic Party Plaintiffs are likely to prevail on their ultra vires (Count I) and

separation of powers claims (Counts II & III) challenging Sections 7(a) and (b) of the EO, which

command federal officials, including the Attorney General and the EAC, to intrude upon a matter

of election regulation—the time by which timely cast ballots must be received by state election

officials—that both the Constitution and Congress have assigned to the States. Notwithstanding

the President’s personal (and unfounded) grievances with mail voting, neither the Constitution nor

any act of Congress permit him to meddle with state laws governing mail ballot receipt deadlines.

       Section 7 of the E.O. requires the Attorney General to “take all necessary action to enforce

2 U.S.C. 7 and 3 U.S.C. 1 against States” that count “absentee or mail-in ballots received after

Election Day,” and Section 7(b) orders the EAC to punish those States that resist this effort by

withholding election funds. E.O. § 7(a), (b). Both are ultra vires because neither the Constitution

nor federal law entitles the President to regulate federal elections. It is “black letter law” that the

President’s power to issue orders “must stem either from an act of Congress or from the


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Constitution itself.” Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172, 188–89

(1999). The Constitution “invests the States,” not the Executive, “with responsibility for the

mechanics of congressional elections.” Foster v. Lova, 522 U.S. 67, 69 (1997) (citing U.S. Const.

art. I, § 4, cl. 1). Only “the action of Congress,” not the President, may “supersede[]” contrary state

law. Ex parte Siebold, 100 U.S. 371, 384 (1879) (emphasis added). The President simply has no

constitutional authority to displace state laws governing elections. Nor has Congress granted him

such authority; nothing in the statutes cited by Section 7(a) of the E.O. confers the President with

power to do so. See E.O. § 7(a) (citing 2 U.S.C. § 7; 3 U.S.C. § 1).

          Likewise, the President has no power to order the EAC to withhold taxpayer money from

States that continue to count ballots in accordance with their state laws. The EAC is an

“independent entity,” 52 U.S.C. § 20921, and the President has no power to dictate the actions of

the Commission in a manner inconsistent with Congress’s design. Nowhere does federal law allow

the President—or even the EAC itself—to condition funds based on the President’s preferred

policies, let alone require States to disobey their own laws. See 52 U.S.C. §§ 21001–03 (setting

out the precise formula for calculating and conditioning grants). This ultra vires attempt to “wield

Congress’ exclusive spending power” violates “the Constitution’s separation of powers

principles.” PFLAG, Inc. v. Trump, No. CV 25-337-BAH, 2025 WL 685124, at *15 (D. Md. Mar.

4, 2025) (holding executive orders cannot place “new conditions on federal funds” not provided

for by Congress) (quoting County of Santa Clara v. Trump, 250 F. Supp. 3d 497, 531 (N.D. Cal.

2017)).

          By injecting the Executive Branch into the regulation of federal elections to suit the

President’s political interests, Section 7(a) and (b) are more than just ultra vires violations of the

separation of powers between Article I and Article II—they also violate the vertical separation of



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powers between the federal government and the States. The States have responsibility for

regulating “elections for the federal government” in “the first instance.” The Federalist No. 59

(Alexander Hamilton); see also U.S. Const. art. I, § 4, cl. 1; id. art II., § 1, cl. 2. This constitutional

authority includes matters about the timing and manner of elections for federal office. See Arizona

v. Inter Tribal Council of Ariz., Inc. (“ITCA”), 570 U.S. 1, 8 (2013); see also Smiley v. Holm, 285

U.S. 355, 366 (1932) (explaining the Elections Clause includes “comprehensive words” that grant

States authority “to provide a complete code for congressional elections”). As such, there is no

doubt that States possess the constitutional authority to enact laws permitting ballots that are cast

by election day to be received by a specified time thereafter under state law.

        Congress has done nothing to displace States’ authority through its Elections Clause power,

nor does the Constitution permit the President to do it himself. As several courts to consider the

question have observed, federal law is “silent on methods of determining the timeliness of ballots.”

Donald J. Trump for President, Inc. v. Way, 492 F. Supp. 3d 354, 372 (D.N.J. 2020); see also Bost

v. Ill. State Bd. of Elections, 684 F. Supp. 3d 720, 736 (N.D. Ill. 2023), aff’d on other grounds 114

F.4th 634 (7th Cir. 2024). In the face of this silence, dozens of States have enacted ballot receipt

deadlines that allow for the counting of mail ballots if they are marked by the voter by election

day but delivered to local election officials within some set period afterward. Supra III.A. “Despite

these ballot receipt deadline statutes being in place for many years in many states, Congress has

never stepped in and altered the rules.” Bost, 684 F. Supp. 3d at 736. Quite to the contrary,

Congress has repeatedly passed statutes, like UOCAVA, that directly acknowledge and

incorporate into federal law these state “deadline[s] for receipt of the State absentee ballot under

State law.” 52 U.S.C. § 20303(b)(3) (emphasis added); see also id. § 20304(b)(1) (requiring

officials to count overseas and military ballots for federal elections if received by “the date by



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which an absentee ballot must be received in order to be counted in the election.”). State ballot

receipt deadlines are fundamentally unremarkable—they simply reflect a reasonable “policy

choice” States may make under their reserved sovereign authority and the Elections Clause. Wis.

State Leg., 141 S. Ct. at 34 (Kavanaugh, J., concurring). Indeed, these laws are so unremarkable

that they existed for over a century before anyone even suggested that the Election Day Statutes

(2 U.S.C. § 7 and 3 U.S.C. § 1)—which have existed in some form for more than 150 years—

conflicts with them. Compl. ¶¶ 45-46.

       Only in recent years have Republicans and their allies pressed the novel idea that the

Election Day Statutes preempt all state ballot receipt laws. Their efforts have met with

overwhelming failure. 12 The reason why is clear: Nothing in the Election Day Statutes speaks to

when timely cast ballots must be received. They say only that election day for congressional races

is “[t]he Tuesday next after the 1st Monday in November, in every even numbered year,” 2 U.S.C.




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   See Pa. Democratic Party v. Boockvar, 238 A.3d 345, 368 n.23 (Pa. 2020) (concluding Election
Day Statutes are consistent with extended ballot receipt deadlines); Bognet v. Sec’y
Commonwealth of Pa., 980 F.3d 336, 353–54 (3d Cir. 2020), cert. granted, judgment vacated sub
nom. Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021) (“Federal law does not provide for when or
how ballot counting occurs,” and extended receipt deadlines and the Election Day Statutes “can,
and indeed do, operate harmoniously.”); Way, 492 F. Supp. 3d at 369 (rejecting the RNC’s and
others’ challenges to New Jersey post-election mail ballot receipt deadline); Bost, 684 F. Supp. 3d
at 736 (rejecting challenge to Illinois’s 14-day ballot receipt deadline); Republican Nat’l Comm.
v. Wetzel, 742 F. Supp. 3d 587, 601 (S.D. Miss.), rev’d in part, vacated in part, 120 F.4th 200 (5th
Cir. 2024) (concluding Election Day Statutes are not violated “by allowing a reasonable interval
for ballots cast and postmarked by election day to arrive by mail”); Republican Nat’l Comm. v.
Burgess, No. 3:24-CV-00198-MMD-CLB, 2024 WL 3445254, at *2 (D. Nev. July 17, 2024)
(concluding Republican organizations and voters lacked standing to challenge Nevada’s ballot
receipt deadline); see also Harris v. Fla. Elections Canvassing Comm’n, 122 F. Supp. 2d 1317,
1325 (N.D. Fla.), aff’d sub nom. Harris v. Fla. Elections Comm’n, 235 F.3d 578 (11th Cir. 2000)
(“Congress did not intend 3 U.S.C. § 1 to impose irrational scheduling rules on state and local
canvassing officials, and certainly did not intend to disenfranchise voters whose only reason for
not being able to have their ballots arrive by the close of election day is that they were serving
their country overseas.”).

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§ 7, and “the Tuesday next after the first Monday in November, in every fourth year,” 3 U.S.C.

§ 21(1). The Supreme Court has explained these laws require that voters “make a final selection”

in their choices for federal office by “election day.” Foster, 522 U.S. at 73. Voters comply with

that requirement when they cast their mail ballots by election day, thus making their “final

selection” on or before the date set in federal law—which is precisely what state ballot receipt laws

require. Nothing in the text of the Election Day Statutes imposes any greater limitation on state

discretion—there is “no reason to think that simply because Congress established a federal election

day it displaced all State regulation of the times for holding federal elections.” Millsaps v.

Thompson, 259 F.3d 535, 549 (6th Cir. 2001). Indeed, any contrary reading that strains to discover

a hidden receipt—rather than selection—deadline in the Election Day Statute ignores that

Congress exercises its Elections Clause authority only “so far as it is exercised, and no farther.”

ITCA, 570 U.S. at 9 (quoting Ex parte Siebold, 100 U.S. at 371).

       Courts had uniformly held as much until a panel of the Fifth Circuit broke with this chorus

of authority just days before the 2024 election, overturning a well-reasoned decision of the district

court on the merits. See generally Republican Nat’l Comm. v. Wetzel, 120 F.4th 200 (5th Cir.

2024). To do so, the Wetzel Court casually dismissed a century of longstanding and widespread

State practice—of which Congress was well aware—as nothing but a few “outliers,” Id. at 211

(quoting N.Y. State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 70 (2022)). 13 Most critically,

the Wetzel panel’s decision is not at all grounded in the text of the Election Day Statutes. In fact,

it buried the dictionary definition of the term “election”—the key word in the Election Day



13
   The errors contained within the panel’s decision are legion, as five judges noted in voting to
rehear the case en banc. Republican Nat’l Comm. v. Wetzel, No. 24-60395, 2025 WL 917346, at
*3 (5th Cir. Mar. 14, 2025) (Graves, J., dissenting from denial of rehearing en banc); see also id.,
at *12 (Higginson, J., similar).

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Statutes—in a footnote, suggesting such definitions “shed no light” on the term’s meaning. Id. at

206 n.5. That conclusion is baffling because the Supreme Court reached precisely the opposite

determination in Foster, relying upon contemporaneous dictionaries to construe the Election Day

Statutes. See 522 U.S. at 71 (citing N. Webster, An American Dictionary of the English Language

433 (C. Goodrich & N. Porter eds. 1869)). In doing so, the Supreme Court emphasized that an

“election” is the “[t]he act of choosing a person to fill an office.” Id. (emphasis added). Hence the

Supreme Court’s conclusion in Foster that the Election Day Statutes impose only a date for “final

selection” by voters. Foster, 522 U.S. at 73; see also Newberry v. United States, 256 U.S. 232, 250

(1921) (defining “election” as the “final choice of an officer by the duly qualified electors”). The

panel’s decision in Wetzel circularly concluded that because dictionary definitions of the term

‘election’ “make no mention of deadlines or ballot receipt,” those definitions must be irrelevant.

Wetzel, 120 F.4th at 206 n.5. But the Election Day Statutes do not answer every conceivable

question about election timing. Millsaps, 259 F.3d at 549. The fact that the dictionary definition

of the term “election” says nothing about ballot receipt only confirms the lack of preemption.

        Compounding the error, the Wetzel panel relied on a single authority——a 1944 Montana

state court decision resolved under Montana law—for the proposition that, as a matter of federal

law, a voter’s “final selection” requires ballot receipt by election officials. Wetzel, 120 F.4th at 208

(citing Maddox v. Board of State Canvassers, 149 P.2d 112 (1944)). But that decision held only

that mail ballots had to be received by election day “since the state law provides for voting by

ballots deposited with the election officials” by that day. Maddox, 149 P.2d at 115 (further

explaining that Montana law required that ballots be “delivered to the election officials and

deposited in the ballot box before the closing of the polls on election day”). Nothing in Maddox

suggested this rule was federalized through the Election Day Statutes. In fact, Maddox extensively



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discusses an earlier Montana decision—Goodell v. Judith Basin County, 224 P. 1110, 1112

(1924)—recognizing that other States, like New Hampshire, had different rules. In those States,

“the elector parts with all control over his ballot and has in fact voted when the ballot is marked

and deposited in the mail addressed to the proper election officer.” Goodell, 224 P. at 1113

(quoting In re Opinion of the Justices, 113 A. 293 (N.H. 1921)); see also Burke v. State Bd. of

Canvassers, 107 P.2d 773, 778 (Kan. 1940) (explaining that in Kansas a “vote is cast when the

ballot is marked . . . [and] placed in envelopes and mailed on election day”). More ironic still,

Maddox is no longer even good law within Montana because the Legislature there has amended

state law to permit post-election day receipt for overseas and military voters. See Mont. Code 13-

21-226(1). The Wetzel Court—which grappled with none of this—therefore had no basis at all to

cite the case as establishing a universal election day receipt rule under federal law.

       The decision’s many other errors warrant brief recitation. For one, the decision nowhere

explains why other federal courts, such as those in Way, Bost, and Bognet, were wrong to construe

the Election Day Statutes as imposing no ballot receipt deadline. The Wetzel Court simply ignored

those decisions entirely. The decision also badly misreads other federal laws like UOCAVA,

puzzlingly suggesting that law “permits post-Election Day balloting, but it does so through its

statutory text.” Id. at 213. What text within UOCAVA the panel is referring to is a mystery. In

reality, the only portion of UOCAVA that permits post-election day receipt of military and

overseas ballots is where it references and incorporates state laws enabling such post-election

receipt. See 52 U.S.C. §§ 10502(d), 20303(b)(3). The text of UOCAVA makes plain as day that

Congress chose to incorporate preexisting “deadline[s] for receipt of the State absentee ballot

under State law” as the default deadlines for UOCAVA voters. Id. § 20303(b)(3). Congress

adopted this language knowing that, by the time of its adoption in 1986, “[t]welve [States] ha[d]



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extended the deadline for the receipt of voted ballots to a specified number of days after the

election.” Uniformed and Overseas Citizens Absentee Voting: Hearing on H.R. 4393, 99th Cong.

21 (Feb. 6, 1986) (Statement of Henry Valentino, Director, Federal Voting Assistance Program).

        Based on nothing more than his belief that the Wetzel court alone got it right, President

Trump purports to now require that the Attorney General “take all necessary action to enforce 2

U.S.C. § 7 and 3 U.S.C. § 1” as that case interprets them—and against States that include absentee

or mail-in ballots received after election day. E.O. § 7(a). He then orders the EAC to further punish

those States that resist this effort by withholding election funds from them. E.O. § 7(b). In reality,

both the President and the Attorney General (as well as the EAC) lack any authority to “enforce”

their misreading of federal law against the States. To do so in the absence of any clear command

from Congress is not only ultra vires but violates prerogatives the Constitution commits firmly to

the States themselves. See The Federalist No. 59 (Alexander Hamilton); see also U.S. Const. art.

I, § 4, cl. 1; id. art II., § 1, cl. 2; ITCA, 570 U.S. at 1, 8. Democratic Party Plaintiffs are therefore

likely to prevail on the merits of these claims.

        C.      The DPOC provisions are ultra vires and violate the separation of powers.

        The Democratic Party Plaintiffs are likely to prevail in their challenges to the DPOC

provisions found in Sections 2(a), (b), and (d) of the E.O. Just as the Constitution and congressional

grants of authority do not authorize the President to override state ballot receipt deadlines, they do

not authorize him to add new DPOC requirements to the federal voter registration form. See E.O.

§ 2(a). Because the DPOC provisions find no basis in law, the Court must “reestablish the limits

on [the President’s] authority,” Reich, 74 F.3d at 1328 (quoting Dart v. United States, 828 F.2d

217, 224 (D.C. Cir. 1988)), and preliminarily enjoin Defendants’ enforcement of these provisions.

        As relevant here, the E.O. includes three unlawful provisions relating to DPOC. First, it

states that the EAC must, “within thirty days,” take “appropriate action to require, in its national

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mail voter registration form” DPOC. E.O. § 2(a)(i)(A). Second, it requires “a State or local official

to record on the form the type of document that the applicant presented as” DPOC. Id. § 2(a)(i)(B).

Third, it imposes citizenship checks by federal agency officials for a discrete group of voters by

directing the “head of each Federal voter registration executive department or agency” to “assess

citizenship” of “enrollees of public assistance programs” prior to providing them with the Federal

Form. Id. § 2(d). Each of these commands is ultra vires and violates the constitutional separation

of powers, see Compl. ¶¶ 126–45; as such, they must be enjoined because the President cannot act

“unconstitutionally or beyond his statutory powers.” Dalton v. Specter, 511 U.S. 462, 472 (1994)

(quotation omitted).

       The E.O. cites no source of constitutional authority for the President to mandate any of the

DPOC provisions. That is because there is none. See supra IV.B. Simply put, the Constitution does

not give the President any authority to preempt or interfere with States’ regulation of the times,

places, and manner of elections, including as to voter registration. See U.S. Const. art. I, § 4; id.

art. II, § 1. Instead, it “empowers Congress to pre-empt state regulations governing” federal

elections, not the President. ITCA, 570 U.S. at 8 (emphasis added). The President lacks any “direct

control” over “the individuals—members of Congress and state officials—who conduct federal

elections,” and has “no authority” to “interfere[] with state election procedures based solely on the

federal executive’s own initiative.” State v. Meadows, 88 F.4th 1331, 1347 (11th Cir. 2023). The

President thus lacks authority to foist his preferred DPOC mandates upon the States.

       In search of legitimacy elsewhere, the E.O. cites a provision of the NVRA, 52 U.S.C.

§ 20508, as authority for the President’s attempt to dictate the contents of the Federal Form. But

that provision does not even mention the President. Instead, it makes clear that only the EAC can

change the Federal Form and only “in consultation” with the States. Id. § 20508(a). Given the



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imperative that the regulation and administration of federal elections be free from partisan bias or

political machinations, Congress expressly created the EAC as an “independent entity.” Id.

§ 20921. 14 It is led by four members who are appointed by the President with the Senate’s advice

and consent, no more than two of whom may be affiliated with the same political party, and it may

only act with the approval of at least three members. Id. § 20923(a)–(b). Once the President

appoints Commissioners, he has no authority to dictate the EAC’s decision-making. And while the

NVRA permits “a State [to] request that the EAC alter the Federal Form to include information

the State deems necessary to determine eligibility,” ITCA, 570 U.S. at 19; 52 U.S.C. § 20508,

nowhere does it allow the President to alter the Federal Form by decree. Likewise, the NVRA does

not authorize the President to place additional administrative burdens for state and local officials

in documenting the types of DPOC used to prove citizenship. See E.O. § 2(a)(i)(B). By unilaterally

ordering the EAC to change the federal form “within 30 days,” the President’s E.O. “eviscerates

an entire statutory scheme,” unlawfully “replacing it with the President’s unfettered discretion”

instead. Pacito v. Trump, No. 2:25-CV-255-JNW, 2025 WL 655075, at *10 (W.D. Wash. Feb. 28,

2025) (granting preliminary injunction where President’s suspension of statutory refugee

admissions was ultra vires).

       Not only are the E.O.’s DPOC provisions not authorized by the Constitution or statute, they

directly conflict with the NVRA’s substantive provisions. “When ‘the President takes measures

incompatible with the expressed or implied will of Congress . . . he can rely only upon his own




14
  As HAVA-sponsor Sen. Mitch McConnell explained, a key principle behind the creation of the
EAC was the “establishment of an independent, bipartisan commission appointed by the President
to provide nonpartisan election assistance to the states.” 147 Cong. Rec. S13681-02, 2001 WL
1628058, at *S13684 (Dec. 19, 2001) (statement of Sen. McConnell); see also 148 Cong. Rec.
S797-01, 2002 WL 225992, at *S811 (Feb. 14, 2002) (similar from Sen. Brownback).

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constitutional powers minus any constitutional powers of Congress over the matter.’” Zivotofsky

ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10 (2015) (quoting Youngstown Sheet & Tube Co. v.

Sawyer, 343 U.S. at 579, 635–38 (1952) (Jackson, J., concurring)). Here, the President has no

constitutional power of his own to regulate elections, so when he strays from congressional

authorization, Article II provides him no safety net. See PFLAG, 2025 WL 685124, at *22 (finding

ultra vires action where executive order conflicted with statute); Louisiana v. Biden, 622 F. Supp.

3d 267, 288 (W.D. La. 2022) (holding executive order was ultra vires where Congress had “sole

authority” in area of regulation and did not “grant authority to the President to make revisions” to

applicable statute).

       The DPOC provisions are incompatible with the NVRA itself. The NVRA mandates that

the Federal Form prescribed by the EAC “may require only such identifying information (including

the signature of the applicant) and other information (including data relating to previous

registration by the applicant), as is necessary to enable the appropriate State election official to

assess the eligibility of the applicant and to administer voter registration and other parts of the

election process.” 52 U.S.C. 20508(b)(1) (emphases added). The NVRA specifies what

information is necessary to establish “citizenship”: “the signature of the applicant, under penalty

of perjury,” attesting “that the applicant meets each such requirement.” Id. 20508(b)(2). And it is

clear that the Federal Form “may not include any requirement for notarization or other formal

authentication.” Id. § 20508(b)(3) (emphases added). That tracks with the NVRA’s Conference

Committee Report, which concluded that requiring DPOC in connection with the Federal Form

was “not necessary or consistent with the purposes of this Act.” H.R. Conf. Rep. No. 103-66, 1993

WL 235764 (Apr. 28, 1993), at *23–*24 (emphasis added); c.f. Mi Familia Vota v. Fontes, 129

F.4th 691, 719 (9th Cir. 2025) (“The ordinary meaning of ‘necessary’ is ‘essential,’ and the



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challenged requirement of DPOC . . . is not ‘essential’ because the checkbox requirement already

gives proof of citizenship.”). This is why when Arizona and Kansas separately sought to force the

EAC to add DPOC to the Federal Form, their efforts were rejected; DPOC has never been

“necessary” to assess eligibility. See, e.g., Kobach v. U.S. Election Assistance Comm’n, 772 F.3d

1183, 1189 (10th Cir. 2014). By requiring DPOC, Section 2(a) conflicts with the will of Congress,

the text of the NVRA, and these well-reasoned decisions.

       Likewise, the NVRA is irreconcilable with the EO’s directive that the “head of each

Federal voter registration executive department or agency” “assess citizenship” of “enrollees of

public assistance programs” prior to providing them with the Federal Form. See E.O. § 2(d). The

text of the NVRA is clear here as well; it leaves no discretion for federal agencies to withhold

voter registration forms from individuals based on vague, ad-hoc determinations about their

eligibility. Voter registration agencies, as the NVRA states, “shall” provide the Federal Form to

all voters who receive their services unless the voter declines to register to vote in writing. Id. §

20506(a)(4)(A); id. § 20506(a)(6)(A). Officials cannot, under the NVRA, pre-screen registrants

with ill-defined, citizenship “assessments” before providing them with the mandated registration

form. Here too, by replacing Congress’s “‘carefully considered policy judgments’ with his own,”

the President unlawfully “overrides” the NVRA “with a ‘different and inconsistent’ approach.”

Pacito, 2025 WL 655075, at *11.

       Finally—in addition to being ultra vires—the DPOC provisions are unlawful for another

related reason: they violate the separation of powers by intruding upon Congress’s prerogatives.

See Thomas More L. Ctr. v. Obama, 651 F.3d 529, 564 (6th Cir. 2011) (Sutton, J., concurring in

part). Congress designed the EAC as “an independent entity,” id. § 20921, and required that the

EAC design the Federal Form through its own independent judgment, in a bipartisan manner, id.



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§ 20923(a)-(b), based on its Commissioners’ “experience with or expertise in election

administration,” 52 U.S.C. § 20923(c), and “in consultation with the chief election officers of the

States,” id. § 20508; see also Gonzalez v. Arizona, 677 F.3d 383, 403 (9th Cir. 2012), aff’d sub

nom. ITCA, 570 U.S. at 1; see also 52 U.S.C. §§ 20921–20923, 20928–20929. This is consistent

with the Constitution’s express grant of authority; the Elections Clause “gives Congress the last

word on how” the EAC shall carry out its congressionally mandated duties. Gonzalez, 677 F.3d at

403. By overriding the EAC’s independent, bipartisan, and majority-based decision-making

procedures, the DPOC Provisions run roughshod over Congress’s Elections Clause authority and

violate the separation of powers. See U.S. Const. art. I, § 4; id. art. II, § 1.

        D.      The Data-Sharing provisions are ultra vires.

        Plaintiffs are also likely to prevail on their claim that the E.O.’s Data-Sharing provisions

are unlawful because they are “ultra vires in that they conflict with statutory law.” PFLAG, 2025

WL 685124, at *21; see Compl. ¶¶ 126–33. The E.O.’s directives that (i) the DHS Secretary grant

State and local officials access to systems for citizenship verification; (ii) the Secretary of State

share information with State and local election officials for citizenship verification; and (iii)

individuals at DOGE be given access to DHS’s database, E.O. § 2(b), all conflict with the Privacy

Act.

        The Privacy Act of 1974 was passed on the heels of the Watergate scandal to “regulate the

collection, maintenance, use, and dissemination of information” by “federal agencies,” and to

“provide certain safeguards for an individual against an invasion of personal privacy by requiring

Federal agencies” to, among other things, “collect, maintain, use, or disseminate any record of

identifiable personal information in a manner that assures that such action is for a necessary and

lawful purpose . . . and that adequate safeguards are provided to prevent misuse of such

information.” Pub. L. No. 93-579, §2(a)(1), (5), 2(b), (4), 88 Stat. 1896, (1974) as amended, 5

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U.S.C. § 552a. In passing the Act, Congress was “concerned with curbing the illegal surveillance

and investigation of individuals by federal agencies that had been exposed during the Watergate

scandal,” along with “potential abuses presented by the government’s increasing use of computers

to store and retrieve personal data by means of a universal identifier – such as an individual’s

social security number.” 15

       To protect members of the public from, in part, politically motivated overreach by the

Executive Branch, the statute prohibits federal agencies and officers from disclosing “any record

which is contained in a system of records by any means of communication to any person, or to

another agency, except pursuant to a written request by, or with the prior written consent of, the

individual to whom the record pertains,” except in specific limited circumstances. 5 U.S.C.

§ 552a(b) (emphases added). This prohibition includes granting access to databases containing

personal information to individuals who are not authorized by law to access or use the information.

See Tolbert-Smith v. Chu, 714 F. Supp. 2d 37, 43 (D.D.C. 2010).

       The records the President orders to be shared here—“[f]ederal immigration databases” and

“information from relevant databases,” E.O. § 2(b)(ii), (iii)—are covered by the Privacy Act. A

record kept in a database or system maintained by DHS or DOS, or that provides information about

individuals pertaining to their immigration status, is necessarily “information about an individual

that is maintained by an agency,” 5 U.S.C. § 552a(a)(4), and is a “record . . . contained in a system

of records,” id. § 552a(b). As such, Section 2(b) of the Order is incompatible with the will of

Congress—expressed through the Privacy Act, under which DHS cannot grant the “DOGE

Administrator” access to, among other things, “Federal immigration databases” as part of efforts



15
   U.S. Dep’t of Justice, Overview of the Privacy Act of 1974 (updated Feb. 24, 2021),
https://www.justice.gov/archives/opcl/policy-objectives.

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       to “review each State’s publicly available voter registration list and available records concerning

       voter list maintenance activities.” E.O. § 2(b)(iii). Nor can the Order lawfully direct the DHS

       Secretary or Secretary of State to grant State and local officials—who are not under any clear

   obligation to keep such information confidential—access to systems for citizenship verification.

   See id. § 2 (b)(i)-(ii). These directives are outside of the President’s legal authority and

   incompatible with federal law.

III.      The remaining preliminary injunction factors are satisfied.

              A.      Plaintiffs are suffering irreparable harm.

              Plaintiffs are already suffering irreparable harm due to the E.O. and will continue to suffer

       such harm absent a preliminary injunction. The E.O. (1) imposes an illegally structured

       competitive environment on all Plaintiffs; (2) puts the Party Organizations’ members at imminent

       risk of disenfranchisement; and (3) harms Plaintiffs’ ability to conduct core election activities.

              Obstacles that make it more difficult for an organization to accomplish its primary mission

       both satisfy Article III’s injury-in-fact requirement and constitute irreparable harm. Whitman-

       Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 56 (D.D.C. 2020)

       (quoting Newby, 838 F.3d at 9). Where the injury arises in the electoral context, the irreparable

       harm is all the more acute. See, e.g., League of Women Voters of Mo. v. Ashcroft, 336 F. Supp. 3d

       998, 1005 (W.D. Mo. 2018) (“Courts routinely recognize that organizations suffer irreparable

       harm when a defendant’s conduct causes them to lose opportunities to conduct election-related

       activities.”) (collecting cases)). The Challenged Provisions of the E.O. each irreparably harm the

       Democratic Party Plaintiffs by forcing them to compete under election rules that will make it

       harder for them to succeed electorally, place new burdensome requirements on voters that are

       likely to injure Democratic voters disproportionately, and frustrate the Party Organizations’ core

       programs. Whitman-Walker Clinic, 485 F. Supp. 3d at 56.

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       Receipt Deadline provisions. The E.O. directs that States refrain from counting large

swaths of mail ballots that otherwise would have been counted consistent with the duly-enacted

election laws of nearly 30 states. These include many of the states where the DGA’s members are

currently serving as Governor. Schumer Decl. ¶ 7; see also Edelman Decl. ¶¶ 8–9. And, in several

of the impacted states, voters cast their ballots primarily or even almost entirely by mail. Schumer

Decl. ¶ 7. The E.O.’s Receipt Deadline provisions are a seismic disruption and highly

consequential transformation of how elections are administered across these states. And its effect

will be to disenfranchise voters who are disproportionately Democratic. Jeffries Decl. ¶ 9–12;

Schumer Decl. ¶¶ 6 , 9; Schneider Decl. ¶ 28; Edelman Decl. ¶ 10; Snyder Decl. ¶ 26; Ruselowski

Decl. ¶ 28. As a result, the Receipt Deadline provisions will irreparably harm (1) the Democratic

Party Plaintiffs’ electoral prospects in elections that they are already beginning to prepare for, (2)

their members’ and constituents’ fundamental voting rights, both by burdening those rights and,

in many cases, causing their disenfranchisement altogether, and (3) the Party Organizations’ core

missions, forcing them to fundamentally change their voter education and turnout programs, to the

severe detriment of other mission-critical programs.

       First, the Receipt Deadline provisions threaten to disenfranchise voters in the upcoming

congressional special elections and in the gubernatorial elections in New Jersey and Virginia

scheduled for this year, and as such, harm Democratic Party Plaintiffs’ electoral prospects. See

Edelman Decl. ¶ 21. Some of these seats will be fiercely contested by both major parties, such that

the Receipt Deadline may be dispositive to the outcome by disenfranchising mail voters who tend

to support Democratic candidates. Thus, Plaintiffs’ candidates may win the support of a plurality

of eligible voters, but nonetheless lose the elections because their voters were disenfranchised by




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the unlawful Receipt Deadline. Cf. Schumer Decl. ¶ 9 (describing a recent race that was decided

by far fewer votes than ballots received and cured after election day).

       Second, that irreparable injury will accrue not only to the parties and candidates who are

deprived of electoral victories, but also to the individual Democratic voters—the Plaintiff

Organizations’ members and constituents—who will have their ballots rejected if USPS does not

deliver them in time, and who will be deprived in any event of the benefit of making their decision

about who to vote for near the end of the election.

       And third, the Receipt Deadline provisions will irreparably harm the Party Organizations

by forcing them to divert resources to ensure voters understand the EO’s new election day deadline,

notwithstanding what the law says in their respective States. See, e.g., Schneider Decl. ¶ 26;

Edelman Decl. ¶ 11–12. Given the likelihood of mail delays, the Party Organizations will now be

forced to spend resources encouraging voters to return their ballots far sooner than they previously

have, and without the benefit of a clear election day deadline for placing their ballots in the mail.

Schneider Decl. ¶ 14; Snyder Decl. ¶ 12; Ruselowski Decl. ¶ 14. These decisions are happening

now—not next month, and not next year. To the determinant of the Party Organizations’

competitiveness, they will impact the funds the Party Organizations have available this election

cycle; the Party Organizations will need to reallocate money earmarked for other programming

toward ensuring voters return their ballots by election day. Schneider Decl. ¶¶ 14–17; Edelman

Decl. ¶ 20; Snyder Decl. ¶ 15; Ruselowski Decl. ¶ 17. Absent relief, the Party Organizations will

miss out on critical opportunities to persuade and mobilize their members and constituents ahead

of upcoming elections. And in States that have previously counted ballots that arrive after election

day, the change also means that mail voters have less time to make their final decisions about

which candidates to support, and the Party Organizations consequently have less time to persuade



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and mobilize them, directly undermining their primary missions. Jeffries Decl. ¶ 11; Schumer

Decl. ¶ 7; Schneider Decl. ¶ 14; Edelman Decl. ¶ 11; Snyder Decl. ¶ 14; Ruselowski Decl. ¶ 14.

In the competitive field of electoral politics, such “mobilization opportunities cannot be remedied

once lost,” In re Ga. S.B. 202, No. 1:21-CV-01259-JPB, 2023 WL 5334582, at *11 (N.D. Ga. Aug.

18, 2023) (quotation omitted), because after the elections pass, “there can be no do over and no

redress.” League of Women Voters, 838 F.3d at 9.

       DPOC provisions. Voter registration deadlines in states with 2025 elections are fast

approaching—meanwhile the E.O.’s DPOC requirement for the Federal Form continues to tick

down from its 30-day deadline. Groups that are more likely to support Democrats, including low-

income individuals, enrollees of public assistance programs, and women will be disproportionately

affected by the DPOC provisions. See Snyder Decl. ¶ 18; Schumer Decl. 13; Jeffries Decl. ¶ 14;

Exs. 11, 12. As a result, by suddenly changing the rules, and now requiring (among other things)

DPOC to register with the Federal Form, the DPOC provisions threaten to irreparably harm (1) the

Democratic Party Plaintiffs’ electoral prospects in elections that they are already beginning to

prepare for, (2) their members’ and constituents’ fundamental voting rights, making it far more

burdensome—and in some cases, impossible—for them to participate in elections that they are

eligible, have a right to, and would otherwise participate in, and (3) the Party Organizations’ core

missions, forcing them to revamp their voter education and turnout programs. Schneider Decl. ¶

21; Snyder Decl. ¶ 20; Ruselowski Decl. ¶ 23.

       To give just a few examples of upcoming elections where the DPOC provisions threaten

the Party Organizations, there is a special congressional primary election scheduled to take place

in Arizona on July 15, 2025, and a general election on September 23, 2025. Schneider Decl. ¶ 20,

22; Ruselowski Decl. ¶ 22. Voter registration for the primary and general election will close on



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June 16, 2025 and August 25, 2025, respectively. 16 Unlike voters in many other states, Arizonans

without DPOC currently have only one option to register to vote: the Federal Form. That is because

Arizona imposed a DPOC requirement to vote in state elections. See A.R.S. § 16-121.01(C). But

after a federal court concluded that the state’s effort to impose DPOC in federal elections was

unlawful, Arizona is still required to allow citizens to register with the Federal Form and vote in

federal elections without providing proof of citizenship. 17 With President Trump’s new mandate

that Federal Form users also submit DPOC, citizens in Arizona will be left with zero options to

register if they lack DPOC. Indeed, persons enrolled in public assistance who seek to register may

not receive the Federal Form at all in light of the EO’s vague, ill-defined, arbitrary, and unreliable

citizenship “assess[ment]” that the President seeks to impose before such registrants could even

be provided a form. See E.O. § 2(d).

       Because this sea change in election administration inflicts significant harm on voters in

their constituencies, the Democratic Party Plaintiffs will be forced to compete in an illegally

structured environment intended to advantage their competitors. See Craig v. Simon, 493 F. Supp.

3d 773, 786 (D. Minn.) (holding a potential loss of votes and need to spend extra time campaigning

constituted irreparable harm), aff’d, 980 F.3d 614 (8th Cir. 2020). The Democratic Party’s

minority-status in the House of Representatives is the slimmest seat margin in nearly one hundred

years. Losing any congressional election in the House of Representatives because lawful citizens—



16
  See Ariz. Sec’y of State, 2025 Congressional District 7 Special Primary and Special General
Election Information Important Dates, https://azsos.gov/sites/default/files/docs/2025-Special-
Election-Schedule.pdf (last accessed Apr. 7, 2025).
17
   Arizona has attempted to impose DPOC in federal elections in whole or in part, twice. See
generally ITCA, 570 U.S. 1. More recently, it sought to preventvoters from voting by mail and in
presidential elections absent DPOC, but that law was also enjoined. Mi Familia Vota v. Fontes,
No. CV-22-00509-PHX-SRB, 2024 WL 2244338, at *1 (D. Ariz. May 2, 2024), aff’d in part,
vacated in part, remanded, 129 F.4th 691 (9th Cir. 2025).

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lower-income voters, enrollees of public assistance programs, and women—could not vote is

simply not reparable. “While there will be other elections, no future election will be this election.”

Emineth v. Jaeger, 901 F. Supp. 2d 1138, 1142 (D.N.D. 2012) (emphasis in original)). The Party

Organizations will experience the same irreparable competitive injuries in upcoming gubernatorial

elections in Virgina and New Jersey because citizens registering in those states with the Federal

Form will likewise be subject to the E.O.’s DPOC mandates.

       Apart from their irreparable electoral injury resulting from the injuries to their voters—

unless the DPOC provisions are enjoined—the Party Organizations will be required to use crucial

limited resources on programs to account for the changes that President Trump’s E.O. makes to

elections. To do so, the Party Organizations will need to divert resources away from other critical

priorities. Schneider Decl. ¶¶ 21–23; Edelman Decl. ¶ 20; Snyder Decl. ¶ 25; Ruselowski Decl. ¶

24.

       Data-Sharing Provisions. The E.O.’s data-sharing provisions further threaten irreparable

harm to Plaintiffs, their members, and their constituents by disclosing their personal information,

on a mass basis, to unauthorized entities and individuals. See Garey, 35 F.4th at 919–20; see also,

e.g., Randolph, 973 A.2d at 710. 18 The disclosures at issue are not circumstances in which access

is provided to just a “small number” of federal officials in a controlled environment, Bessent, 2025

WL 740401, at *21, but rather involve access being granted to hundreds of state and local election



18
   Plaintiffs acknowledge that this Court, in Bessent, found that the plaintiffs failed to establish
irreparable harm resulting imminent unlawful disclosures of personal information to a handful of
DOGE officials, even though they established an injury-in-fact based on the same unlawful
disclosures. 2025 WL 740401, at *18, *21. However, the widespread nature of the mandated
disclosures here (which extend outside of the federal government), combined with the risks
associated with using the information in those databases for purposes of the list-maintenance and
the imminence of upcoming elections, significantly magnifies the threatened harm in this case
compared to the allegations in Bessent. See id., at *21.

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officials, in addition to DOGE. Further, the E.O. subjects voters who are already registered (and

thus already proved their qualifications) to intrusive reviews. As a result, these violations threaten

harm to the Party Organizations’ ability to effectively persuade voters, many of whom are reluctant

to subject their personal data to review by DOGE and other unauthorized third parties, for their

support. Jeffries Decl. ¶ 15; Schumer Decl. ¶ 15; Schneider Decl. ¶ 24; Edelman Decl. ¶¶ 18, 19;

Snyder Decl. ¶¶ 22–23; Ruselowski Decl. ¶ 25. Further, matching information contained in federal

databases to voter registration data is an extremely error-prone endeavor for several reasons, not

the least because federal databases are often not “up to date.” Mi Familia Vota, 129 F.4th at 705.

The risk of erroneous identification, investigation, and improper removal from voter rolls by state

officials only compounds the harm resulting from unlawful disclosure.

                                          *       *        *

       These harms are not hyperbole or conjecture: they are actual, imminent, and urgent. See

Newby, 838 F.3d at 7–8. There are several elections in 2025, including two special congressional

elections and two gubernatorial elections, in which the Party Organizations have candidates

competing on a playing field tilted towards their opponents, at the expense of American citizens.

Jeffries Decl. ¶ 15; Edelman Decl. ¶ 21; Ruselowski Decl. ¶¶ 6, 22. Party Organizations must make

budget decisions now, which will impact their ability inform voters about candidates and persuade

them to vote for Democrats. Schneider Decl. ¶ 26-27; Edelman Decl. ¶ 20; Snyder Decl. ¶¶ 20, 25;

Ruselowski Decl. ¶ 27; see also Carey v. FEC, 791 F. Supp. 2d 121, 134 (D.D.C. 2011)

(concluding in June 2011 that “the political season for the [2012] presidential election is already

underway and the time to participate is now” (emphasis in original)); cf. Elrod v. Burns, 427 U.S.

347, 374 n.29 (1976) (“The timeliness of political speech is particularly important.”). And as the

foregoing examples illustrate, Plaintiffs will miss out on critical electoral work because they will



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be forced to mitigate the effects of the E.O. Schneider Decl. ¶¶ 13–16, 21–24, 26; Edelman Decl.

¶¶ 12, 16-17, 20; Snyder Decl. ¶¶ 14-15, 20, 25; Ruselowski Decl. ¶ 13-17, 23-27; see also Jeffries

Decl. ¶ 16; Schumer Decl. ¶ 16. Accordingly, the harms the Party Organizations are suffering—

and will continue to suffer—“are far from speculative. And they will be serious in terms of their

effects on Plaintiffs,” jeopardizing their electoral prospects in upcoming elections. Whitman-

Walker, 485 F. Supp. 3d at 57 (cleaned up).

       B.      The public interest favors an injunction.

       The public interest unquestionably favors the issuance of a preliminary injunction. In

weighing the equities, courts are required to “balance the competing claims of injury and . . .

consider the effect on each party of the granting or withholding of the requested relief.” Tex.

Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 245 (D.D.C. 2014) (quotation omitted). When,

as here, the “Government is the opposing party,” the court’s assessment of the equities and the

public interest “merge.” Guedes v. ATF, 920 F.3d 1, 10 (D.C. Cir. 2019).

       The equities weigh sharply in favor of granting a preliminary injunction. First, the

Defendants will not face any harm should the Court temporarily enjoin the specific provisions of

the E.O. at issue while the parties litigate to final judgment. Enjoining Defendants from enforcing

an unconstitutional E.O. cannot harm them in any cognizable way; it is “well established that the

Government ‘cannot suffer harm from an injunction that merely ends an unlawful practice.’”

C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020) (quoting Open Cmtys. All. v. Carson, 286

F. Supp. 3d 148, 179 (D.D.C. 2017)); cf. Newby, 838 F.3d at 12 (“There is generally no public

interest in the perpetuation of unlawful agency action.”).

       On the other side of the ledger, the public interest decidedly favors a preliminary

injunction. As the D.C. Circuit held in Newby, the equities favor plaintiffs where, as here, “absent

an injunction,” there was a “substantial risk that citizens” would be “disenfranchised.” 838 F.3d at

                                                    43
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  12. The challenged provisions create a “substantial risk” of disenfranchisement here. To start, the

  Receipt Deadline provisions alone will place hundreds of thousands, if not millions, of ballots in

  jeopardy. 19 Moreover, the equities tip in favor of injunctive relief where “[c]onfusion [] create[s]

  a disincentive for citizens who would otherwise attempt to register,” or “a large number of Federal

  Form registrants” are “very likely” to not be “registered to vote for failure to provide proof of

  citizenship.” Id. at 13. Here, “[t]he substantially diminished ability” of Plaintiffs to register voters,

  “including in communities that generally have little access to voter registration services,” is

  “contrary to what Congress, in enacting the NVRA, declared to be the public interest.” Id. In that

      respect, “the programmatic harm” to Plaintiffs “dovetails with the public interest.” Id. at 12–13.

      The balance of equities and public interest weigh sharply in favor of preliminary relief.

IV.      Plaintiffs request appropriately tailored preliminary relief.

              The preliminary injunction that Plaintiffs request is appropriately tailored to the claims that

      are the subject of this motion. Plaintiffs seek no more than a “stopgap measure, generally limited

      as to time, and intended to maintain a status quo or ‘to preserve the relative positions of the parties

      until a trial on the merits can be held.’” Sherley v. Sebelius, 689 F.3d 776, 781–82 (D.C. Cir.

      2012) (quoting Univ. of Tex. v. Camenisch, 451 U.S. 390, 395 (1981)). For each challenged

      provision of the Executive Order, Plaintiffs ask the Court to enjoin only those officials and

      respective departments or agencies that the text of the provision tasks with enforcement. 20

         •    The injunction of Section 2(a) of the E.O. should run against the EAC and its
              Commissioners because the provision tasks these Defendants with requiring States to
              comply with the documentary proof of citizenship requirement. See E.O. § 2(a).



  19
    See Wash. Sec’y of State, Secretary of State Steve Hobbs’ Statement Reacting to Presidential
  Executive Order on Elections (Mar. 26, 2025), https://perma.cc/Y622-EMT9.
  20
    Plaintiffs do not seek an injunction against President Trump or the Executive Office of the
  President. See Franklin v. Massachusetts, 505 U.S. 788, 802–03 (1992) (plurality).

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     •    The injunction of Section 2(b)(i) should run against DHS and Secretary Noem; the
          injunction of Section 2(b)(ii) should run against DOS and Secretary Rubio; and the
          injunction of Section 2(b)(iii) should run against DHS, Secretary Noem, DOGE, and
          Administrator Gleason because these provisions task these Defendants with ultra vires data
          sharing. See id. § 2(b).

     •    The injunction of Section 2(d) should run against DOD, the VA, DOI, and Small Business
          Administration—along with their leaders Secretary Hegseth, Secretary Collins, Secretary
          Burgum, and Administrator Loeffler, respectively—because certain states have designated
          offices of these agencies as federal voter registration agencies subject to this provision’s
          requirements. See id. § 2d; 52 U.S.C. § 20506(c) (requiring the designation of armed forces
          recruitment centers); Cal. Exec. Order W-98-94; Mich. Exec. Directive No. 2024-3
          (designating the VA and Small Business Administration) 21; Press Release, Interior Dep’t
          Takes Steps to Increase Voter Registration in Indigenous Communities, U.S. Dep’t of
          Interior (Mar. 24, 2022) (recognizing designation of Department of Interior-operated
          institutions in Kansas and New Mexico). 22

     •    The injunction of Section 7(a) should run against the Department of Justice and Attorney
          General Bondi, and the injunction of Section 7(b) should run against the EAC and its
          Commissioners because these provisions task these agencies and officials with unlawful
          actions regarding States’ ballot receipt deadlines.

                                          CONCLUSION

          For the reasons stated above, the Court should grant the preliminary injunction requested

by the Democratic Party Plaintiffs.



Dated: April 7, 2025                                 Respectfully submitted,




21
   Mich. Off. of the Governor, Exec. Directive No. 2024-3, Updating Michigan’s List of Voter
Registration     Agencies     (June    20,     2024),    https://www.michigan.gov/whitmer/-
/media/Project/Websites/Whitmer/Documents/Exec-Directives/ED-20243-
signed.pdf?rev=1600c3de9ee74cc493c70467e5f4395b&hash=757453EA390A89DB9001D2B46
757BF03.
22
   Press Release, Interior Department Takes Steps to Increase Voter Registration in Indigenous
Communities,        U.S.     Dep’t       of     the     Interior      (Mar.      24,       2022),
https://www.doi.gov/pressreleases/interior-department-takes-steps-increase-voter-registration-
indigenous-communities.

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